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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 DALMADO GAUTIER, et al.,                                     :
                                              Plaintiffs, :
                                                              :   20 Civ. 3776 (LGS)
                            -against-                         :
                                                              :        ORDER
 3 WAY RESTAURANT, INC., et al.,                              :
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, this Court’s Order, dated October 16, 2020, required the parties to file a

proposed joint letter and case management plan by November 5, 2020, (see Dkt. No. 48 (citing

Dkt. Nos. 12 and 35));

        WHEREAS, the initial pretrial conference is scheduled for November 12, 2020, at 10:40

a.m. (Dkt. No. 48);

        WHEREAS, the parties failed to file the joint letter or proposed case management plan; it

is hereby

        ORDERED that, the parties shall file the joint letter and proposed case management plan

as soon as possible and no later than November 9, 2020.



Dated: November 6, 2020
       New York, New York
